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UNITED STATES DISTRICT COURT ae,
EASTERN DISTRICT OF LOUISIANA ei GET pe
NEW ORLEANS DIVISION

MDLNO.1873. iYTE
SECTION “N” (5) ye te

JUDGE ENGELHARDT
MAGISTRATE CHASEZ

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IN RE: FEMA TRAILER
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION

THIS DOCUMENT PERTAINS TO
Civil Action No. 09-7823

Carolin Belmares, et. al.

Vs.

Southern Energy Homes, Inc., et al.

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SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ AMENDED COMPLAINT
PURSUANT TO PRETRIAL ORDER NO. 33

In compliance with Pretrial Order 53 (Rec. Doc. 9073), Plaintiffs hereby file their
Supplemental Exhibit “A” to their Amended Complaint to match the Plaintiffs to their correct
Contractor/Installer Defendants.

In addition to the information previously submitted on Exhibit “A”, Plaintiffs attach
hereto a Supplemental Exhibit “A” and incorporate same by reference herein.

Respectfully submitted,

Kye) Cyulls

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Exhibit A

Earnestine Druey, as Next Friend of J.H, a minor
(201538)

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Earnestine Druey (202018)

Earnestine Druey, as Next Friend of T.D, a minor
(202020)

Mitchell Havard (201542)

Tiffany Druey, as Next Friend of J.D, a minor
(202019)

Tiffany Druey, as Next Friend of K.T, a minor
(202362)

